                                  Case 8:21-bk-01266                 Doc 1        Filed 03/18/21           Page 1 of 13


Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Confidence Trucking W/C LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5130 Broad St.
                                  Brooksville, FL 34601
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Hernando                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                      Case 8:21-bk-01266                Doc 1         Filed 03/18/21              Page 2 of 13
Debtor    Confidence Trucking W/C LLC                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 48

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must
     check the second sub-box.                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                       Case 8:21-bk-01266                      Doc 1       Filed 03/18/21              Page 3 of 13
Debtor    Confidence Trucking W/C LLC                                                                     Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                           Case 8:21-bk-01266              Doc 1       Filed 03/18/21          Page 4 of 13
Debtor   Confidence Trucking W/C LLC                                                Case number (if known)
         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                                  Case 8:21-bk-01266                  Doc 1        Filed 03/18/21             Page 5 of 13
Debtor    Confidence Trucking W/C LLC                                                              Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 18, 2021
                                                  MM / DD / YYYY


                             X   /s/ Daymis Rodriguez                                                     Daymis Rodriguez
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Member




18. Signature of attorney    X   /s/ Herbert R. Donica                                                     Date March 18, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Herbert R. Donica 841870
                                 Printed name

                                 Donica Law Firm, PA
                                 Firm name

                                 238 East Davis Blvd
                                 Suite 209
                                 Tampa, FL 33606
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     813-878-9790                  Email address      herb@donicalaw.com

                                 841870 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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 Fill in this information to identify the case:

 Debtor name         Confidence Trucking W/C LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          March 18, 2021                          X /s/ Daymis Rodriguez
                                                                       Signature of individual signing on behalf of debtor

                                                                       Daymis Rodriguez
                                                                       Printed name

                                                                       Managing Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Confidence Trucking W/C LLC
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA                                                                                   Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 C T Corporation                                                 Blanket lien           Contingent                     Unknown                   Unknown                   Unknown
 System                                                                                 Unliquidated
 330 N. Brand                                                                           Disputed
 Boulevard
 Suite 700
 Attn.: SPRS
 Glendale, CA 91203
 C T Corporation                                                                        Contingent                                                                                $0.00
 System                                                                                 Unliquidated
 330 N. Brand                                                                           Disputed
 Boulevard
 Suite 700
 Attn.: SPRS
 Glendale, CA 91203
 Centennial Bank                                                 Blanket lien           Contingent                     Unknown                   Unknown                   Unknown
 PO Box 906                                                                             Unliquidated
 Conway, AR 72033                                                                       Disputed
 COMMERCIAL                                                      90 days or less:                                   $585,000.00                 $10,000.00              $585,000.00
 CREDIT GROUP                                                    Accounts
 INC.                                                            receivable
 227 West Trade St
 Suite 1450
 Charlotte, NC 28202
 COMMERCIAL                                                      Desk, chair,                                       $585,000.00                     $500.00             $584,500.00
 CREDIT GROUP                                                    computer, printer
 INC.                                                            and related
 227 West Trade St                                               equipment.
 Suite 1450
 Charlotte, NC 28202
 Commercial Credit                                               90 days or less:                                      Unknown                  $10,000.00                 Unknown
 Group, Inc                                                      Accounts
 227 West Trade St.                                              receivable
 Suite 1450
 Charlotte, NC 28202




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Confidence Trucking W/C LLC                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Commercial Credit                                               2014 International                                    Unknown                $585,000.00                  Unknown
 Group, Inc                                                      8600
 227 West Trade St.                                              2014 International
 Suite 1450                                                      8600
 Charlotte, NC 28202                                             2006 Sterling
                                                                 LT8511
                                                                 2016 Peterbilt 365
                                                                 2016 Peterbilt 365
                                                                 2016 Peterbilt 365
                                                                 2016 Kenilworth T
 Commercial                                                      90 days or less:                                    $10,000.00                 $10,000.00                $10,000.00
 Funding, Inc.                                                   Accounts
 170 Main Street                                                 receivable
 Suite 700
 Salt Lake City, UT
 84101
 Corporation Service                                             Blanket lien           Contingent                     Unknown                   Unknown                   Unknown
 Company                                                                                Unliquidated
 PO Box 2576                                                                            Disputed
 Springfield, IL 62708
 Corporation Service                                                                    Contingent                                                                                $0.00
 Company                                                                                Unliquidated
 PO Box 2576                                                                            Disputed
 Springfield, IL 62708
 Financial Pacific                                                                                                                                                                $0.00
 Leasing
 PO Box 4568
 Federal Way, WA
 98063
 First Corporate                                                 Blanket lien           Contingent                     Unknown                   Unknown                   Unknown
 Solutions                                                                              Unliquidated
 914 S. Street                                                                          Disputed
 Sacramento, CA
 95811
 First Corporate                                                                        Contingent                                                                                $0.00
 Solutions                                                                              Unliquidated
 914 S. Street                                                                          Disputed
 Sacramento, CA
 95811
 Knight Capital                                                                         Contingent                                                                                $0.00
 Funding                                                                                Unliquidated
 9 E. Lookerman St.                                                                     Disputed
 Suite 202-543
 Dover, DE 19901
 Knight Capital                                                  Blanket Lien           Contingent                   $30,163.87               $585,000.00                 $30,163.87
 Funding                                                                                Unliquidated
 9 E. Lookerman St.                                                                     Disputed
 Suite 202-543
 Dover, DE 19901




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Confidence Trucking W/C LLC                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Small Business                                                  Blanket lien           Contingent                   $37,000.00               $585,000.00                 $37,000.00
 Financial Sol                                                                          Unliquidated
 4500 E. West                                                                           Disputed
 Highway
 6th Floor
 Bethesda, MD 20814
 U.S. Small Business                                                                                                                                                        $8,600.00
 Admin.
 Office of Disaster
 Assist
 14925 Kingsport
 Road
 Fort Worth, TX
 76155-2243




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                               United States Bankruptcy Court
                                                                       Middle District of Florida
 In re      Confidence Trucking W/C LLC                                                                               Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Daymis Rodriguez                                                    Membership       100%                                       Member
 8227 Galgano Lane
 Spring Hill, FL 34606


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing Member of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date March 18, 2021                                                         Signature /s/ Daymis Rodriguez
                                                                                            Daymis Rodriguez

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Confidence Trucking W/C LLC                                                                 Case No.
                                                                                 Debtor(s)              Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Managing Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       March 18, 2021                                           /s/ Daymis Rodriguez
                                                                      Daymis Rodriguez/Managing Member
                                                                      Signer/Title




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Confidence Trucking W/C LLC          Daymis Rodriguez                       U.S. Small Business Admin.
5130 Broad St.                       8227 Galgano Lane                      Office of Disaster Assist
Brooksville, FL 34601                Spring Hill, FL 34606                  14925 Kingsport Road
                                                                            Fort Worth, TX 76155-2243



Herbert R. Donica                    Financial Pacific Leasing
Donica Law Firm, PA                  3455 S. 34th Way
238 East Davis Blvd                  Suite 300
Suite 209                            Auburn, WA 98001
Tampa, FL 33606

C T Corporation System               Financial Pacific Leasing
330 N. Brand Boulevard               PO Box 4568
Suite 700                            Federal Way, WA 98063
Attn.: SPRS
Glendale, CA 91203

Centennial Bank                      Financial Pacific Leasing
PO Box 906                           PO Box 749642
Conway, AR 72033                     Los Angeles, CA 90074-9642




COMMERCIAL CREDIT GROUP INC.         First Corporate Solutions
227 West Trade St                    914 S. Street
Suite 1450                           Sacramento, CA 95811
Charlotte, NC 28202



COMMERCIAL CREDIT GROUP INC.         Gerard William Rousseau
525 N. Tryon Street                  8238 Amish Lane
Suite 1000                           Brooksville, FL 34602
Charlotte, NC 28202



Commercial Credit Group, Inc         Knight Capital Funding
227 West Trade St.                   9 E. Lookerman St.
Suite 1450                           Suite 202-543
Charlotte, NC 28202                  Dover, DE 19901



Commercial Funding, Inc.             Misti Lynn Rousseau
170 Main Street                      8238 Amish Lane
Suite 700                            Brooksville, FL 34602
Salt Lake City, UT 84101



Corporation Service Company          Small Business Financial Sol
PO Box 2576                          4500 E. West Highway
Springfield, IL 62708                6th Floor
                                     Bethesda, MD 20814
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                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Confidence Trucking W/C LLC                                                                Case No.
                                                                                 Debtor(s)             Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Confidence Trucking W/C LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 March 18, 2021                                                      /s/ Herbert R. Donica
 Date                                                                Herbert R. Donica 841870
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Confidence Trucking W/C LLC
                                                                     Donica Law Firm, PA
                                                                     238 East Davis Blvd
                                                                     Suite 209
                                                                     Tampa, FL 33606
                                                                     813-878-9790 Fax:813-878-9746
                                                                     herb@donicalaw.com




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